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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DISPLAY TECHNOLOGIES, LLC,                        Case No. 21-cv-09595-WHO
                                                        Plaintiff,
                                   8
                                                                                           JUDGMENT
                                                 v.
                                   9

                                  10     A&D MEDICAL COMPANY, LIMITED,
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Judgment in this case is hereby entered in accordance with the joint stipulation filed by the

                                  14   parties. See Dkt. No. 19.

                                  15          IT IS SO ORDERED.

                                  16   Dated: March 21, 2022

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                                                                                                   William H. Orrick
                                  19                                                               United States District Judge
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